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 Attorney or Party Name, Address, Telephone & FAX                        FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
Sevan Gorginian, Esq. (SBN 298986)
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     Plaintiff(s) appearing without attorney
     Attorney for Plaintiff(s)

                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:
                                                                         CASE NUMBER: 2:20-bk-14552-ER
KHURRAM MOHAMMED,                                                        ADVERSARY NUMBER: 2:20-ap-01168-ER
                                                                         CHAPTER: 7
                                                          Debtor(s).


MUNNI ALVI IRONE, dba Arts 4 Peace Awards,
                                                                                  PLAINTIFF’S MOTION FOR DEFAULT
                                                                                    JUDGMENT UNDER LBR 7055-1

                                                         Plaintiff(s),   DATE: TBD
                                                                               TBD
                  vs.                                                    TIME:                   LBR 9013-1(o)
                                                                         COURTROOM:             1568
KHURRAM MOHAMMED, aka FESI KHURRAM, aka
                                                                         ADDRESS:
SUNNY MOHAMMAD FESSI,

                                                                          No Hearing Required Unless Opposition Filed [LBR 9013-1(o)
                                                                          See Notice Accompanying Motion for Default Judgment
                                                     Defendant(s).


TO THE DEFENDANT, DEFENDANT'S ATTORNEY AND OTHER INTERESTED PARTIES:

1. Name of Defendant(s) against whom default judgment is sought (specify name): _____________________________
   KHURRAM MOHAMMED, aka FESI KHURRAM, aka SUNNY MOHAMMAD FESSI
   _____________________________________________________________________________________________
2. Plaintiff filed the complaint in the above-captioned proceeding on (specify date): 07/30/2020
3. The Summons and Complaint were served on Defendant by                                 personal service                mail service
   on the following date (specify date): 08/11/2020
4. A true and correct copy of the completed return of summons form is attached.

                “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
    “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5. The time for filing an answer or other response expired on (specify date): 09/02/2020


6. No answer or other response has been filed or served by Defendant.
7. The default of Defendant:
    a.           Has not yet been entered, but is requested
    b.           Was entered on (specify date): 01/04/2021

8. A Status Conference:
    a.                                                             Status Conference vacated per Court order
                 Is scheduled for (specify date, time, and place): ______________________________________
                  (doc. 28), previously scheduled for November 18, 2020 at 10:00 a.m., courtroom 1568
                 ____________________________________________________________________________
                                                                255 East Temple Street, Los Angeles, CA 90012.
    b.           Was held on (specify date, time, and place): _________________________________________
                 ____________________________________________________________________________

9. As proof that Plaintiff is entitled to the relief requested in the complaint, Plaintiff:
    a.          Relies on the complaint and attached documents.
    b.          Attaches the following documents to establish a prima facie case:

          (1)                                  Munni Alvi Irone
                     Declaration of (specify): ____________________________________________________

          (2)        Declaration of (specify): ____________________________________________________

          (3)        Other (specify): ___________________________________________________________
                                      Request for Judicial Notice (filed separately) and Memorandum of Points & Authorities (below).

10. As further support for entry of a default judgment, Plaintiff submits a memorandum of points and authorities (optional).

11. DECLARATION OF NON-MILITARY STATUS (Servicemembers Civil Relief Act, 50 U.S.C. chapter 50 (§§ 3901-
    4043)). The undersigned party or counsel declares under penalty of perjury, with respect to each Defendant against
    whom a default judgment is sought by this motion:

    a.           Defendant is not currently in military service. The facts that support this statement are as follows (see the
                 court’s website for information about how to verify non-military status):
                Plaintiff's counsel searched Defendant's name and alias names and did not find any support that the
                Defendant is in the military.

    b.           Defendant is currently in military service. The facts that support this statement are as follows (if this box is
                 checked, the plaintiff must attach a supplement to this motion addressing the requirements in 50 U.S.C.
                 § 3931(b)(2) to appoint an attorney for the Defendant before entering a judgment):




    c.           I am unable to determine whether or not Defendant is in military service. The facts that support this statement
                 are as follows (if this box is checked, the plaintiff must attach a supplement to this motion addressing the
                 bond requirement in 50 U.S.C. § 3931(b)(3)):




                This form is       . It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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12. Defaulting party is not an infant or incompetent party.


Plaintiff requests that this court enter a default judgment in favor of Plaintiff. A copy of the lodged proposed default
judgment is attached.


Date: 02/25/2021                                                 Respectfully submitted,

                                                                 Law Office of Sevan Gorginian
                                                                 Printed name of law firm



                                                                 /s/ Sevan Gorginian
                                                                 Signature

                                                                 Sevan Gorginian
                                                                 Name of Attorney for Plaintiff or Plaintiff




    EXHIBIT A - Military Status Verification

    EXHIBIT B - Declaration of Plaintiff in support of Motion

    EXHIBIT C - Copy of Complaint/Summons Issued on
    Defendant

    EXHIBIT D - Copy of Proof of Service filed evidencing
    service of all pleadings on the Defendant.

    EXHIBIT E - Proposed Order Granting Motion for Default
    Judgment.

    EXHIBIT F - Costs relating to the Saban Theater Event



           This form is       . It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                          MEMORANDUM OF POINTS AND AUTHORITIES
   1

   2                                                I.

   3                                   STATEMENT OF FACTS

   4      A. Procedural Background
   5
          On February 26, 2020, Munni Alvi Irone, Plaintiff, filed a complaint against Khurram
   6
       Mohammed, Defendant, in the United States District Court, Central District of California,
   7
       case number 2:20-cv-01841-JFW-PVC. Plaintiff s complaint alleges trademark
   8
       infringement, trademark dilution, unfair competition and false advertising, contributory
   9

  10 trademark infringement, and vicarious trademark infringement.

  11      About three months later, on May 18th, 2020, Defendant filed the underlying
  12 bankruptcy proceeding (2:20-bk-14552-ER). On July 30, 2020, Plaintiff filed the herein
  13
       adversarial proceeding (2:20-ap-01168-ER). Defendant was served by personal service
  14
       on August 11, 2020. The time for filing an answer expired on September 2, 2020.
  15
       Defendant failed to file an answer (or responsive pleading). A default of Defendant was
  16

  17 entered on January 4, 2020.

  18      B. Brief Statement of Facts

  19                                      Art 4 Peace Awards
  20          Arts 4 Peace Awards is Plaintiff s trademark. Plaintiff registered the trademark
  21
       with the U.S. Patent and Trademark Office (USTPO) in 2019. See Exhibit A attached to
  22
       the complaint for a copy of the trademark registration retrieved from the USPTO s
  23
       Trademark Electronic Search System. Despite its 2019 registration, Plaintiff has been
  24
  25 using the mark and Art for Peace Awards (without the s in Arts) since, at least, as

  26 early as 2016.
  27

  28



                                                    1                                   Memorandum
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                 Plaintiff has devoted substantial time, effort, and resources to the development
   1

   2 and extensive promotion of the Arts 4 Peace Awards trademark and the services

   3 offered thereunder.

   4            As a result of these efforts, and Plaintiff s long term/widespread use of the mark1,
   5
       the public has come to recognize and rely upon the Arts 4 Peace Awards mark as an
   6
       indication of the high quality, reliability, and trustworthiness associated with Plaintiff s
   7
       brand. Arts 4 Peace Awards enjoys a high degree of consumer recognition and has
   8
       become a famous mark.
   9

  10                                 The Defendant: Khurram Mohammed

  11            Plaintiff first met Defendant sometime in 2015, but it was not until later in 2018 that
  12 Plaintiff felt comfortable doing business with Defendant.
  13
                Defendant appeared to share the same values as Plaintiff and Defendant made
  14
       certain representations to entice a business relationship. Defendant stated he knew
  15
       people in Bollywood and knew an investor who wanted to invest in a business venture.
  16

  17                            Defe da     s Action: The Saban Theater Event

  18            Sometime around June 2018, Defendant and Plaintiff verbally agreed to organize

  19 an event at the Saban Theater located in Beverly Hills.

  20            Defendant and I also verbally agreed that I was entitled to 10% of the ticket sales
  21
       from this Saban Event. Ticket sales also include fees from movies submitted for awards
  22
       and monies from people wanting to advertise at the event.
  23

  24
  25

  26
  27

  28   1
           via internet, television, radio, print, unsolicited media coverage


                                                        2                                   Memorandum
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                The event would be held by both Plaintiff s organization Arts 4 Peace Awards,
   1

   2 and Defendant s organization Family Film Awards. The event was to be held on

   3 October 28, 2018. Issues began to arise prior to the event.

   4            First, Defendant claimed he did not have the necessary funds to make the deposit
   5
       securing the Saban venue. Defendant asked Plaintiff to pay the $8,709.69 deposit, and
   6
       that he (Defendant) would reimburse her later. Second, Defendant asked Plaintiff to pay
   7
       $2,300 for software, and an additional $3,000 to open a bank account which proceeds
   8
       from ticket sales would be deposited. See Exhibit B attached to the complaint for a copy
   9

  10 of the $3,000.00 check made out to World Film Festival.

  11            A few days prior to the event (October 28, 2018), the situation deteriorated further.
  12 Defendant told Plaintiff he did not want to do the event, walked out on Plaintiff, and
  13
       turned around and directed the crowd, who purchased tickets to the scheduled event, to
  14
       another venue in Cerritos. Plaintiff was unaware of this Cerritos Event.
  15
                Defendant used Plaintiff s Arts 4 Peace Awards for his event in Cerritos and
  16

  17 funneled all ticket purchases collected to an account inaccessible to Plaintiff. Plaintiff

  18 believes Defendant collected approximately $250,000 from ticket sales. Defendant

  19 appropriated the entirety of the ticket sales and funneled the monies to an account

  20 inaccessible to Plaintiff. Plaintiff believes the monies were funneled to an account held by
  21
       Defendant in India. Plaintiff did not receive any monies from the ticket sales of the Saban
  22
       Event.
  23
                Plaintiff, on the other hand, had to go through with the Saban Event and incurred
  24
  25 approximately $66,000 in debt as a result, consisting of $46,395.00 for the cost of the

  26 production and $19,492.48 for the cost of the venue itself. See Exhibit F attached to this
  27

  28



                                                      3                                   Memorandum
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       Motion for Default Judgment for spreadsheets evidencing the cost of production and the
   1

   2 venue cost itself, including a check for the deposit for the venue.

   3                               Defe da      Ac       : The Trademark

   4          Since as early as 2018, Defendant has been using Plaintiff s organization s name,
   5
       Arts 4 Peace Awards, to promote Defendant s own business without authorization of
   6
       Plaintiff and at Plaintiff s expense.
   7
          1. Defendant used Arts 4 Peace Awards to promote Defendant s Cerritos event
   8
              described above.
   9

  10      2. Defendant has an online presence under the domain name

  11           art4peaceawards.com. Plaintiff s domain name is art4peaceawards.org. The
  12          difference is in the suffix (Defendant s .com versus Plaintiff s .org ). Defendant s
  13
              domain art4peaceawards.com is registered through GoDaddy, Inc.
  14
          3. Defendant has been running advertisements online (including search engine)
  15
              using Arts 4 Peace Awards or variations thereof.
  16

  17      4. Defendant has filed Articles of Incorporation under Art World 4 Peace Award Los

  18          Angeles Again, Plaintiff s organization is Arts 4 Peace Awards. See Exhibit C

  19          attached to the complaint for a copy of Statement of Information and Articles of
  20          Incorporation retrieved from the California Secretary of State.
  21
              Plaintiff believes that Defendant has been using Plaintiff s Arts 4 Peace Awards
  22
       online and other avenues to lure Plaintiff s established and potential clients away from
  23
       Plaintiff and towards his own organization.
  24
  25          Plaintiff has sent cease and desist letters to Plaintiff to no avail. Defendant

  26 continues to use Plaintiff s trademark or similar variations thereof without authorization.
  27

  28



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                                                     II.
   1

   2 THE MOTION SHOULD BE GRANTED AND JUDGEMENT ENTERED FOR PLAINTIFF

   3          Plaintiff has devoted substantial time, effort, and resources to the development

   4 and extensive promotion of Plaintiff s Arts 4 Peace Awards. Through Plaintiff s efforts,

   5
       Plaintiff s mark has accumulated intangible attributes such as reliability, reputation, high
   6
       quality, recognition, goodwill, and related qualities. These qualities cannot be easily
   7
       reduced to a monetary value, but are crucial to any business.
   8
              Defendant, without authorization, used Arts 4 Peace Awards to (1) promote his
   9

  10 own Cerrito s event; (2) to establish an online presence; (3) to run advertisements online;

  11 (4) to file Articles of Incorporation under the mark.

  12          Defendant s unauthorized use of Plaintiff s Arts 4 Peace Awards is tantamount to
  13
       a transfer of the trademark and its intangible qualities and benefits. Defendant s
  14
       unauthorized use has unjustly enriched Defendant at the expense of Plaintiff. Plaintiff is
  15
       seeking redress in the form of the imposition of a constructive trust and injunctive relief
  16

  17 under 11 U.S.C. § 105(a).

  18          Additionally, Plaintiff seeks to have the Court find the debt owed to Plaintiff be

  19 nondischargeable under 11 U.S.C. § 523(a)(2), (4), or (6).

  20      A. Unjust Enrichment
  21
              Under California law, the elements of unjust enrichment are: (1) receipt of a
  22
       benefit; and (2) unjust retention of the benefit at the expense of another. See In re
  23
       ConAgra Foods Inc., 908 F.Supp.2d 1090 (C.D. Cal. 2012).
  24
  25          Defendant received the benefits of his unauthorized use of Plaintiff s Arts 4 Peace

  26 Awards and its intangible qualities. Defendant benefited by using Arts 4 Peace Awards :
  27      1. To promote of his own Cerrito s event;
  28



                                                     5                                    Memorandum
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          2. To establish an online presence under the domain name art4peaceawards.com.
   1

   2         Plaintiff s domain name is art4peaceawards.org. The difference is in the suffix

   3         (Defendant s .com versus Plaintiff s .org );

   4      3. To run advertisements online (including search engine) using Arts 4 Peace
   5
             Awards or variations thereof;
   6
          4. To file Articles of Incorporation under Art World 4 Peace Award Los Angeles
   7
             Again, Plaintiff s organization is Arts 4 Peace Awards. See Exhibit C attached
   8
             to the complaint for a copy of Statement of Information and Articles of
   9

  10         Incorporation retrieved from the California Secretary of State.

  11         It is unjust for the Defendant to retain the benefits born from the unauthorized use
  12 of Arts 4 Peace Awards at the expense of the Plaintiff. First, Plaintiff did not authorize
  13
       Defendant to use Arts 4 Peace Awards. Second, Defendant s slight variations are
  14
       indicative of purposeful deceptive design, rather than mere coincidence. The chart below
  15
       is a side-by-side comparison.
  16

  17               Plaintiff   T ade a k               Defendant   Va ia

  18               art4peaceawards.org       art4peaceawards.com

  19               Arts 4 Peace Awards       Art World 4 Peace Award Los Angeles
  20
          Defendant has unjustly benefited from the continued unauthorized use of Plaintiff s
  21
       Arts 4 Peace Awards. Plaintiff is seeking redress by imposing a constructive trust and
  22
       injunctive relief to recover Plaintiff s Arts 4 Peace Awards business name, trademark,
  23
       and domain name.
  24
  25      B. Constructive Trust

  26         "A constructive trust is an equitable remedy imposed to prevent unjust
  27 enrichment." Taylor Assocs. v. Diamant (In re Advent Mgmt. Corp.), 178 B.R. 480, 486

  28



                                                   6                                   Memorandum
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       (9th Cir. BAP 1995), aff'd, 104 F.3d 293 (9th Cir. 1997). In a constructive trust, a person
   1

   2 who has engaged in fraud or other wrongful conduct holds only bare legal title to the

   3 property subject to a duty to reconvey it to the rightful owner." F.T.C. v. Crittenden, 823

   4 F.Supp. 699, 703 (C.D. Cal. 1993), aff d, 19 F.3d 26 (9th Cir. 1994).

   5
              "Under California law, a court may find that a constructive trust exists if it finds
   6
       merely that the acquisition of property was wrongful and that the keeping of the property
   7
       by the defendant would constitute unjust enrichment. " Id. (quoting Calistoga Civic Club v.
   8
       City of Calistoga, 143 Cal.App.3d 111, 116 (Ct. App. 1983)).
   9

  10          To impose a constructive trust, three conditions must be shown: "(1) a specific,

  11 identifiable property interest, (2) the plaintiff's right to the property interest, and (3) the

  12 defendant's acquisition or detention of the property interest by some wrongful act."
  13
       Higgins v. Higgins, 11 Cal. App. 5th 648, 659 (2017), review denied (July 26, 2017).
  14
              Here, the property interest at issue is Plaintiff s Arts 4 Peace Awards trademark,
  15
       business name, and domain name. Plaintiff has ben using the trademark since at least as
  16

  17 early as 2016, and Plaintiff registered the trademark with the USTPO in 2019. Defendant

  18 usurped Plaintiff s Arts 4 Peace Awards to (1) promote his own Cerrito s event; (2) to

  19 establish an online presence; (3) to run advertisements online; (4) to file Articles of

  20 Incorporation under the mark.
  21
              As previously discussed, the Defendant s slight variations in the use of Plaintiff s
  22
       trademark are indicative of purposeful deceptive design, rather than mere coincidence.
  23
       This is especially so given Defendant s familiarity of Plaintiff s business through the
  24
  25 course of their business dealings in the ill-fated Saban Event.

  26          For Defendant to retain the benefits of the unauthorized use of Plaintiff s hard-

  27 established Arts 4 Peace Awards is unjust.

  28



                                                       7                                     Memorandum
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              Finally, given Defendant s elusiveness and lack of participation in this adversarial
   1

   2 proceeding, practical measures should also be implemented to effectuate Plaintiff s

   3 recapture of her trademark, business name, and domain name. Therefore, Plaintiff is also

   4 seeking injunctive relief under 11 U.S.C. § 105(a).

   5
          C. Injunctive Relief
   6
              Under 11 U.S.C. § 105(a), a bankruptcy court may issue any order, process, or
   7
       judgment that is necessary or appropriate to carry out the provisions of this title. While a
   8
       constructive trust imposes a duty on Defendant to reconvey, its effectiveness as a
   9

  10 remedy is contingent upon Defendant s compliance ( …a duty to reconvey it to the

  11 rightful owner… ).

  12          Defendant s domain art4peaceawards.com is registered through GoDaddy, Inc.
  13
       Consequently, Plaintiff is seeking an order directing the domain name registrar,
  14
       GoDaddy, Inc., to transfer the domain to Plaintiff.
  15
              Defendant is also seeking to enjoin Plaintiff from continued unauthorized use of
  16

  17 Plaintiff s Arts 4 Peace Awards or variations thereof as domain names or any other

  18 manifestations.

  19      D. Non-Dischargeability
  20          By verbal agreement between Plaintiff and Defendant, Plaintiff was entitled to 10%
  21
       of the ticket sales from the Saban Event. Defendant wrongfully appropriated the entirety
  22
       of the ticket sales from the Saban Event. Plaintiff believes an estimated $250,000 in
  23
       proceeds were funneled to an account inaccessible to Plaintiff. Moreover, Plaintiff
  24
  25 believes these proceeds were funneled into an account held by Defendant in India.

  26          Plaintiff also incurred substantial expenses. Defendant abandoned the Saban

  27 Event and directed attendants away from the Saban Event to his own Cerritos Event.

  28



                                                     8                                    Memorandum
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       Plaintiff was unaware of the Cerritos Event. Plaintiff was left standing with the proverbial
   1

   2 bag. Plaintiff had to go through with the Saban Event. As a result, Plaintiff incurred

   3 $65,887.45 in debt consisting of $46,395.00 for the cost of the production and $19,492.48

   4 for the cost of the venue itself. See Exhibit F attached to this Motion for Default

   5
       Judgment for spreadsheets evidencing the cost of production and the venue cost itself,
   6
       including a check for the deposit for the venue.
   7
              While the exact dollar amount of the ticket proceeds and expenses incurred as a
   8
       result of the Saban Event are unascertainable at this time, it is unjust for Defendant to
   9

  10 discharge the debt owed to Plaintiff based upon his false representations, false

  11 pretenses, and his willful and malicious acts. It is unjust for Defendant to be rewarded for

  12 his actions to conceal, obscure, and hinder Plaintiff s ability to ascertain an exact dollar
  13
       amount. It would be likewise unfair to hold Plaintiff to greater burdens foisted upon her by
  14
       Defendant s methods; to completely uncover what the Plaintiff has concealed.
  15
              As such, Plaintiff seeks to have the Court find the debt owed to Plaintiff to be
  16

  17 nondischargeable under 11 U.S.C. § 523(a)(2), (4), or (6).

  18          A discharge of the debt owed by Defendant to Plaintiff will foreclose Plaintiff s

  19 attempt to recover in future state court proceedings or in the current pending district court

  20 case. Plaintiff is in essence seeking a comfort order to preserve her right to relief in other
  21
       forums against the Defendant without the worry of a discharge injunction prohibiting it.
  22
              If Plaintiff procures a judgment with an ascertainable amount with the respects to
  23
       the actions alleged in the complaint, the Plaintiff may then return and file an amendment
  24
  25 judgment at a later time.

  26
  27

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                                                     9                                   Memorandum
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                                                 III.
   1
   2                                       CONCLUSION

   3       Plaintiff prays for judgment as follows:

   4       1. For a judgment that the debt owed to Plaintiff by Defendant is
   5
              nondischargeable under 11 U.S.C. § 523(a)(2), (4), or (6), the total amount of
   6
              which is unascertainable at the moment;
   7
           2. For a judgment in favor of Plaintiff and against Defendant for unjust
   8
              enrichment;
   9

  10       3. For a judgment imposing a constructive trust on any and all property relating to

  11          Plaintiff s Arts 4 Peace Awards trademark, business name, and domain name
  12          appropriated by Defendant, in favor of Plaintiff;
  13
           4. For a judgment directing GoDaddy, Inc. to transfer the domain
  14
              art4peaceawards.com to Plaintiff;
  15
           5. For a judgment enjoining Defendant from continued unauthorized use of
  16

  17          Plaintiff s Arts 4 Peace Awards trademark, business name, and domain

  18          name; and

  19       6. For such other relief as the Court deems just and proper.
  20

  21
           Dated: February 25, 2021                     /s/ Sevan Gorginian
  22
                                                        Sevan Gorginian, Esq.
  23                                                    Plaintiff s Counsel
  24
  25

  26

  27

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                                                  10                                  Memorandum
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              EXHIBIT A
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           EXHIBIT B
DECLARATION IN SUPPORT OF MOTION
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    1   Sevan Gorginian, Esq. (SBN 298986)
        Law Office of Sevan Gorginian
    2   450 North Brand Boulevard, Suite 600
    3   Glendale, California 91203
        Tel: 818.928.4445 | Fax: 818.928.4450
    4   Email: sevan@gorginianlaw.com

    5   Attorney for Plaintiff
    6
    7                                UNITED STATES BANKRUPTCY COURT

    8                                 CENTRAL DISTRICT OF CALIFORNIA

    9                                         LOS ANGELES DIVISION

   10
        In re:                                            )    Case No.: 2:20-bk-14552-ER
   11                                                     )
   12   Khurram Mohammed, dba Arts 4 Peace                )    Chapter: 7
        Awards,                                           )
   13                                                     )    Adv. No.: 2:20-ap-01168-ER
                                          Debtor(s).      )
   14
                                                          )
   15                                                     )    DECLARATION OF MUNNI ALVI
        Munni Alvi Irone,                                 )    IRONE IN SUPPORT OF HER
   16                                                     )    DEFAULT JUDGMENT
                                          Plaintiff,      )
   17
                                                          )
   18                   v.                                )
                                                          )
   19   Khurram Mohammed aka Fesi Khurram                 )
        aka Sunny Mohammad Fessi,                         )
   20
                                                          )
   21                                     Defendant.      )
                                                          )
   22
   23                                DECLARATION OF MUNNI ALVI IRONE

   24            I, Munni Alvi Irone , hereby declare:
   25       1. I am the Plaintiff in this adversary against Khurram Mohammed aka Fesi
   26
        K     a    a aS          M    a      ad Fe     ( Defe da   ). I e de a 1646 Acorn Ln,
   27
   28


                                                         -1-
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        Glendora, CA 91741-3001. I am over the age of 18 and if called as a witness, I could
    1
    2   and would testify the same thereto.

    3                                         Preliminary Matters
    4
           2. On February 26, 2020, I filed a complaint against Defendant, in the United States
    5
        District Court, Central District of California, case number 2:20-cv-01841-JFW-PVC. My
    6
    7   complaint alleges trademark infringement, trademark dilution, unfair competition and

    8   false advertising, contributory trademark infringement, and vicarious trademark
    9   infringement.
   10
           3. About three months later, on May 18th, 2020, Defendant filed the underlying
   11
        bankruptcy proceeding (2:20-bk-14552-ER).
   12
   13      4. Defendant is now and at all times relevant to the bankruptcy case, an individual

   14   residing in Los Angeles County in the State of California.
   15      5. Defendant filed the bankruptcy case subjecting himself to the jurisdiction of this
   16
        Court with personal residence located at 640 E. Imperial Avenue, Apartment 8, El
   17
        Segundo, CA 90245.
   18
   19      6. Defe da       f ed Sc ed e E/F, a 3: L        O e       Be N    f ed Ab     a Deb

   20   T a Y     A ead L     ed           a e and makes reference to the district court case
   21
        above.
   22
           7. I am a creditor against the estate and the Defendant at the time this bankruptcy
   23
   24   case was filed. As such, I have standing to bring this adversary proceeding.

   25      8. On July 30, 2020, I filed the herein adversarial proceeding (2:20-ap-01168-ER).
   26   Defendant was served by personal service on August 11, 2020. The time for filing an
   27
   28


                                                    -2-
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        answer expired on September 2, 2020. Defendant failed to file an answer (or responsive
    1
    2   pleading).

    3           9. A default of Defendant was entered on January 4, 2020.
    4
                                                     Arts 4 Peace Awards
    5
                10. A         4 Peace A a d      is my trademark. I registered the trademark with the U.S.
    6
    7   Patent and Trademark Office (USTPO) in 2019. See E                          b   A a ac ed        e

    8   c         a       f    ac     f    e ade a         e      a         e e ed f          e USPTO
    9   Trademark Electronic Search System. Despite its 2019 registration, I have been using
   10
        the mark and Art 4 Peace Awards (without the s in Arts), since, at least, as early as
   11
        2016.
   12
   13           11. I have devoted substantial time, effort, and resources to the development and

   14   e e           e               f    e A     4 Peace A a d             ade a      a d   e e   ce       ffe ed
   15   thereunder.
   16
                12. As a result of my efforts, and my long term/widespread use of the mark1, the
   17
                b c a c         e   ec        ea d e                  e A        4 Peace A a d      a    a a
   18
   19   indication of the high quality, reliability, and trustworthiness associated with my brand.

   20       A     4 Peace A a d           enjoys a high degree of consumer recognition and has become
   21
        a famous mark.
   22
                                           The Defendant: Khurram Mohammed
   23
   24           13. I first met Defendant sometime in 2015, but it was not until later in 2018 that I felt

   25   comfortable doing business with Defendant.
   26
   27
   28
        1
            via internet, television, radio, print, unsolicited media coverage

                                                                -3-
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           14. Defendant appeared to share the same values as me and Defendant made
    1
    2   certain representations to entice a business relationship. Defendant stated he knew

    3   people in Bollywood and knew an investor who wanted to invest in a business venture.
    4
                             Defendant’s Actions: The Saban Theater Event
    5
           15. Sometime around June 2018, Defendant and I verbally agreed to organize an
    6
    7   event at the Saban Theater located in Beverly Hills.

    8      16. Defendant and I also verbally agreed that I was entitled to 10% of the ticket sales
    9   from this Saban Event. Ticket sales also include monies from movies submitted for
   10
        awards (there was a submission fee) and monies from people wanting to advertise at
   11
        the event.
   12
   13      17. T e e e           d be e d b b            a    a        A       4 Peace A a d , a d

   14   Defe da          a   a       Fa   F     A ad . T ee e              a      be held on October
   15   28, 2018. Issues began to arise prior to the event.
   16
           18. First, Defendant claimed he did not have the necessary funds to make the
   17
        deposit securing the Saban venue. Defendant asked me to pay the $8,709.69 deposit,
   18
   19   and that he (Defendant) would reimburse me later. Second, Defendant asked me to pay

   20   $2,300 for software, and an additional $3,000 to open a bank account which proceeds
   21
        from ticket sales would be deposited. See E      b    B a ac ed            ec     a    f   a
   22
        copy of the $3,000.00 check made o         W     dF       Fe       a.
   23
   24      19. A few days prior to the event (October 28, 2018), the situation deteriorated

   25   further. Defendant told me he did not want to do the event, walked out on me, and
   26   turned around and directed the crowd, who purchased tickets to the scheduled event, to
   27
        another venue in Cerritos.
   28


                                                   -4-
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           20. I was unaware of this Cerritos Event.
    1
    2      21. Defe da       ed        A       4 Peace A a d      f         e e         Ce        .

    3      22. I believe Defendant collected approximately $250,000 from ticket sales.
    4
           23. Defendant appropriated the entirety of the ticket sales and funneled the monies
    5
        to an account inaccessible to me. I believe the monies were funneled to an account held
    6
    7   by Defendant in India. I did not receive any monies from the ticket sales of the Saban

    8   Event.
    9      24. I, on the other hand, had to go through with the Saban Event and I incurred
   10
        approximately $66,000 in debt as a result, consisting of $46,395.00 for the cost of the
   11
        production and $19,492.48 for the cost of the venue itself. See E                b      F a ac ed
   12
   13   this Motion for Default Judgment for spreadsheets evidencing the cost of production and

   14   the venue cost itself, including a check for the deposit for the venue.
   15                              Defendant’s Actions: The Trademark
   16
           25. Since as early as 2018, Defendant has been using my mark, A                       4 Peace
   17
        A ad ,             e Defe da                b     e                  a           a       a da
   18
   19   expense.

   20              a. Defe da       ed A         4 Peace A a d                        e Defe da            own
   21
                      Cerritos Event described above;
   22
                   b. Defendant has an online presence under the domain name
   23
   24                 a 4 eacea a d .c            . M d       a       a e    a 4 eacea a d .                .T e

   25                 d ffe e ce           e     ff (Defe da          .c      e              .        ).
   26                 Defe da      d       a     a 4 eacea a d .c                 e      e ed
   27
                      GoDaddy, Inc.
   28


                                                        -5-
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             EXHIBIT C
COPY OF COMPLAINT THAT WAS SERVED
  COPY OF SUMMONS AND PROOF OF
   SERVICE OF SERVED DOCUMENTS
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Munni Alvi Irone
1646 Acorn Ln
Glendora, CA 91741
310−299−6035




Plaintiff or Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA − LOS ANGELES
In re:

                                                                              CASE NO.:    2:20−bk−14552−ER

Khurram Mohammed                                                              CHAPTER:     7


                                                                              ADVERSARY NUMBER:         2:20−ap−01168−ER
                                                               Debtor(s).

Munni Alvi Irone


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Khurram Mohammed                                                                     PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)




TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
09/02/2020. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                October 13, 2020
             Time:                10:00 AM
             Hearing Judge:       Ernest M. Robles
             Location:            255 E Temple St., Crtrm 1568, Los Angeles, CA 90012



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                  Page 1                        F 7004−1.SUMMONS.ADV.PROC
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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: August 3, 2020




                                                                                        By:        "s/" Maria Evangelista
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                Page 2                        F 7004−1.SUMMONS.ADV.PROC
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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Munni Alvi Irone                                                             Khurram Mohammed
                                                                             Fesi Khurram
                                                                             Sunny Mohammad Fessi




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________, I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   _____________________________________________________________                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004−1.SUMMONS.ADV.PROC
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 1                                                                          JUL 32 2229
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 3   G LENDORA , CA 91741

 4 (310)299-6035
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 6

 7                                    UN ITED STATES D ISTR ICT CO URT
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                                  CENTRAL D ISTR ICT O F CA LIFO R N IA
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1O                                          W ESTERN D IV IS IO N

11                                               ) cAsE No:2c- 14ss2
12                                               ) AovEnsAny No.
13                                               )
     M UNNIALVIIRONE DBA ART4 PEACE
14                                               )
     AW ARDS
15                                               )
            F'lëhirltiff,
16                                               )
17                                               )
18                                               )
19          V.                                   )

20   I                                           )
      .  KHURRAM MO HAM MED AKA FESI
21   KHURRAM AKA SUNNY MOHAMMED                  )
22   FESSI
23                                               )
            Debtor
24
                            ..   --.. .          )k
25
26
27                                                   #

28
                                                         1
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                                                                    CENTRALDISTRICToF CAUFORNIA
  2   1646 ACO RN LA x :                                             BY:                x putycler.

  3   G LENDO RA , CA 91741

  4 (310)299-6035
  5
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  1                         UN ITED STATES D ISTR ICT CO U RT
  8
                           C ENTRAL D ISTR ICT O F CALIFO RN IA
  9
 10                                 W ESTERN D IV IS IO N

 11                                       ) cAsE No:
 12                                       ) ADVERSARY PROCEEDING
 13                                       ) 1
      M UNNI                                 . TRADEMARK I NFRINGEMENT UNDER 15 U.S .G .
              ALVIIRONE DBA ART 4 PEACE     sections 1114and 1125(a);
 14                                       )
 15   AW ARDS                                 2 'TRAOEMARK o juun oN UNDER 15 U.s.c.1126(a);
                                          )
           Plaintift                          a UXFAIR coxpEylv lox ANo FALSE AovERzls lNo
 16                                       j 'ukoER jsus.c.section 1125(a);
                                                        .


 17                                       ) 4
                                             . UNFAI
                                                   R COMPETITION AND FALSE ADVERTISING
 18                                         UNDER CAL.BUS.& PROF.CODE Section 17200and
                                          ) srsx ,Ev sEo ;
 19        V.
                                          ) s CONTRIBUTORY TRADEMARK INFRINGEMENT;
20    I KHURRAM MOHAMM ED AKA FESI        ) 7.VIcARlous TRADEMARK INFRINGEMENT
       .


21    KHURRAM AKA SUNNY MOHAMMED          )
22    FEssl
23                                        )
           Defendant                                            .
24                                        )
25
26                                         1. PARTIES

27
      PLAINTIFF:
28
                                               1
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 1          MunniAlvi lrone (Creditor),a creditoras an individualherebycomplains as
 2   follows:

 3
                                  NATURE OF TNE ACTION
 4
 5          This is an adversary proceeding by M unniagainst the Debtor, to avoid
 6 $325,000.00 in actualand constructive fraudulentpre-petition fund transfers made by
 7   C reditor to the herein-involved Debtor This adversary proceed ing is under
                                            .




 8 section 523(a)(2)(A).
 9
                                          1. PARTIES
10
11                                        cnEo jyo n :
12
     1,C reditorM unniA lv iIrone, am an individualw ith principalplace of residence at 1646
13
     Acorn Lane;G lendora CA 91741.Ifounded m y business Art4peaceawards in the
14
     year2016 and Ioperate it from 9641 Chareville B lvd .jBeverly H ills CA 90212. Iown
15
     various websites related to m y Ad4peaceawards business including ,butnot lim ited
16
     to A rt4peaceawards,com and Ad4peaceawardsbeverlyhills.com . Tradem ark
17
     Registration # 5834905. P lease see Exhibit 'A ''
18
19   PlaintiffMunniA lvi Irone,com pla ins and alleges against:

20   Debtor:
21
22   1. KHURRAM M O HAM M ED AKA FES IKHURRAM AKA SUNNY M O HAM M ED FESI,
23   an individual',

24
                                 2. FACTUA L BACKGROUND
25
26       .A RTMPEACEAW ARDS Business and the ARTMPEACEAW ARDS Tradem ark
27
28
                                                 2
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 1 As a result of P la intiffs Iong-term and w idespread use of the A rts 4 Peace Awards
 2   mark in the United S tates via Internet,televis ion,rad io ,and printadvedis ing,and

 3 continuous and unsolicited media coverage,the Arts4 Peace Awards markenjoysa
 4   high degree of consum er recognition and has become a fam ous m ark.
 5
        2. S ince at leastas early as 2016,P laintiffhas continuously used the highly
 6
            distinctive
 7
 8   tradem ark A rts 4 Peace Awards to m arket, schedule and hold artists awards events
 9   throughoutCalifornia , United States and worldw ide. Plaintiff's devoted substantial
10   tim e, effort,and resources to the developm entand extensive prom otion of the Ads 4
11   Peace Awards tradem ark and the services offered thereunder. As a result of
12   Plaintiff's effods, the public has come to recognize and rely upon the A rt4 Peace
13 Awards m ark as an indication of the high quality, re liability and trustfulness
14   associated w ith Plaintiff's brand.
15
16      3. PlaintiffmetDefendantKhurram Mohammed (M r.Mohammed)sometime in
17          the

18   year2c1s and afterm eeting him , did not see him untilsom etime in the year2016
19   when he broughta professionaldancerto an eventPlaintiffheld Again,Plaintiffdid
                                                                       .


20   not see Defendantuntilanotherevent P laintiffheld in 2018 and by then P laintifffelt
21 com fortable to do business w ith M r M oham m ed,since he appeared to be a very
                                           .


22 odhodox M uslim m an M r M uham m ed stated he knew people in the Bollywood
                            .   .


23   industry and that he had an investor thatwanted to invest in a business venture

24 $150,000.00 dollars. Som etime around June 2018 M r.M oham m ed and Plaintiff
25 VERBALLY agreed to w ork togetherand book a the Saban TheaterIocated at8440
26 W ilshire Blvd
                    Beverly H ills ,California as the venue foran event to be held by their
                   .,

27 organizationsArtW orld 4 Peace awards (Plaintiffsorganization)and Fam ily Film
28
                                                  3
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 1 Awards (M r.Mohammed'sorganization). Apparently M r.Moham med did nothave
 2   the funds for the deposit to rent the herein-m entioned venue and asked P la intiffto
 3 pay the $6,000.00 depositand he would reimburse her Iater.Then M r.Mohammed
 4 asked Plaintiffto pay$3,000.00 deposit to open a bank account w ith forthe event
 5   fund ticket sale proceeds to be deposited in.A lso, M r.M oham m ed asked P laintifffor
                                              y
                                              ?e--*'ftt.d..j: Vvz. 1
 6 $2,300.00 Ioan to buy some computersoftware. The eventwas to be held on
 7   October28,2018.,however,a few days before the event,M r. M oham m ed told
 8   P laintiffshe didn'twant to do the event,walked outon P laintiffand turned around and
 9 directed the crowd who purchased tickets to the scheduled event to anothervenue in

10 CerritosCalifornia . M r.Mohammed used myorganization's name (Art4 Peace
11 Awards forhis event in Cerritos and he funneled aIIticket purchase collected funds to
12 anaccount in lndia. He collected over$250,000.00 dollars from the ticketsale for
13 thateventand leftme a $75,000.00dollardebtsince Istillhad to go through the
14   scheduled eventat the Saban Theater. lhad to pay out ofpocket forthe theater
15 rentalandaIIotherincurredexpenses )t t qgt,-
                                              .
                                                  '
                                                                      fXVUV iV Y
16
        4. Since early as October2018, DefendantM r.M oham m ed has been using .
17
     Plaintifrs organization's name (Art4 Peace Awards)to promote his business.He
18
     has an online page by the nam e ofA rt4peaceawards.com and otherpages w ith my
19
     organization's name ,he is using m y it illegally for his gain . O n inform ation and belief,
20
     Defendant M r.M oham m ed has been using Plaintiffs m ark online and otheravenues
21
     which directly com pete w ith P lainti/ s organization.P lease see exhibitC'B ''
22
        5. Plaintiffbrings this action as a resultofM r. M oham m ed's fraudulentand unfair
23
24   business practices,he has engaged in a pattern and practice of using m y
25 organization's name based upon m isrepresentation to lure m y established and
26   potentialclients to his organization. Because ofthis illicitpractice,M r.M oham m ed
27   has obtained Iarge ,w rongfulprofits at PlaintiT s expense .
                   Unauthorized use ofAd 4 Peace Awards in InternetAdvedisinn
28
                                                      4
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             O n inform ation and belief,Defendants are padners and they are prom oting
 1
 2    and using online P la intif s m arkAd 4 Peace Awards and different sim ilarvaria tions

 3    ofthis m ark w hich directly com pete againstP laintiff's organization.

 4    Defendants have been routinely using P laintiffs Ad 4 Peach Awards trademark,
 5    and confusingly sim ila rvariations thereof, in the headerand textofthe resulting spon
 6    sored Iink thatappearw hen one types in A
                                              ' d 4 Peace Awards''ora variation thereof
 5r                                                                             If y,,
      asasearch term inan lnternetsearchengine.PleaseseeExhibitç.
 8
             In add ition to running advedisements that confuse P laintiff's current and
 9
      prospectclients regarding the source ofthe online websites featuring P laintiffs m ark,
10
11    Defendants run advedisements thatdilute and tarnish Plaintiff's m ark and the

12    reputation ofPlaintiffand herservices.

13           Plaintiffsentdem and Ietters to Defendants inform ing them of Plaintiff's

14    valuable tradem ark rights and dem anding that they cease aIluse of the A rt4 Peace
15 Awards trademark. As ofthis date ,Defendants continue to use Plaintifrs trademark,
16                                                                             ,f
      and confusingly sim ila rvariations of itw ithoutauthorization.Defendants ajjure to
17
      com ply w ith Plaintiffs dem ands demonstrates a deliberate intent to continue
18
      w rongfully com peting w ith Plaintiffand to w illfully infringe Plaintiffs rights in the A rt4
19
      Peace Awards tradem ark.
20
21 O n inform ation and belief,the actions ofaIIherein-included Defendants described

22    w ithin the contentofthis Com plaintwere and continue to be deliberate and w illful.

23                                        FIRST CAUSE OF ACTIO N

24                   (FEDERAL TRADEMARK INFRINGEMENT UNDER 15 U.S .C .
25                         sections 1114 and 1125(a)againstaIIDefendants)
26         Th
             e Defendants actions described above and specifically,w ithout lim itation,
27
      theirunauthorized use of the Ad 4 Peace Awards tradem ark,and confusincly sim ilar
28                                                                                       - '

                                                      5
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     variations thereof, in com m erce to advedise,prom ote ,m arket,and selltickets for
 1
 2   awards events throughout the United States, including California ,constitute

 3 trademark infringement in violationof15 U.S .C .Sections 1114 and 1125(a).
 4           The actionsofDefendants, ifnotenjoined,willcontinue. Plaintil has suffered
 5   and continues to sufferdam ages in an am ount to be proven at trialconsisting of,
 6   am Ong otherthings the follow ing:
 7   1
      .   Loss ofincome in the amountofaround $250,000.00dollarswhen
 8
     DefendantKhurram Moham m ed transferred to a bank in lndia the tickets funds
 9
     collected for the October2018 aw ards event.
10
11 2. Creditcard debt in the amountof$75,000.00 dollars since Defendant Khurram
12   Mohamm ed walked out on Plaintifffor the October2018 eventand took aIIthe

13   collected funds som e of the guests.

14   3. Loss of income in an unknown amount forotherawards events Defendants have
15   been holding using Plaintiff's tradem ark ''A d 4 Peace Awards''and variation names
16   ofthe mark.
17
     4. Plaintiff's organization has been affected by Defendants'deceptive practices of
18
     using Plaintiff's m ark since prospectclients are being directed to Defendants'online
19
     pages and advedising instead ofgoing to Plaintiffs online page and advedising .
20
21   5 . Profits m ade by Defendants on the use ofP laintiff's m ark.

22 6 . Expenses incurred to pursue this Iawsuit,receipts shallbe provided in Court

23   7. Fudherm ore,P laintiffis inform ed and believes,and on thatbasis alleges, that the
24   actions of Defendants were undertaken w illfully and w ith the intention ofcausing
25   confusion, m istake ,ordeception,m aking this an exceptionalcase entitling Plaintiff to
26
     recoveradditional treble dam ages and reasonable attorney fees pursuant to 15
27
     U .S .C . Section 1117.
28
                                                  6
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   On inform ation and belief, the actions ofaIIhere in-included Defendants described
 1
 2 w ithin the contentof this Complaintwere and continue to be deliberate and w illful.

 3                               SECO ND CAUSE OF ACTION

 4         (FederalTradem ark Dilution under15 U.S .C .Section 1125(c)againstaII
                                        Defendants)
 5
           The Defendants actions described above and specifically ,w ithout lim itation,
 6
 7   theirunauthorized use of the A rt4 Peace Awards tradem ark, and confusingly sim ilar

 8   variations thereof, in com m erce to adved ise,prom ote ,m arket,and selltickets for

 9   awards events throughout the United States, including California , constitute Federal
10 Tradem ark D ilution in violation of 15 U .S.C .Sections 1114 and 1125(c).
11           The actions of Defendants
                                         ,   ifnotenjoined,w illcontinue. Plaintiffhassuffered
12
     and continues to sufferdam ages in an am ount to be proven at trialconsisting of,
13
     among other things the follow ing:
14
     1. Loss ofincome in the amountofaround $250,000.00dollarswhen
15
16   DefendantKhurram M oham m ed transferred to a bank in India the tickets funds

$7   collected forthe October2018 awards event.

18 2. Creditcard debt in the amountof$75,000.00 dollars since Defendant Khurram
19   M oham m ed w alked out on Plaintifffor the October2018 eventand took allthe

20   collected funds som e of the guests     .



21 3
      .   Loss of incom e in an unknow n am ount forotherawards events Defendants have
22
     been holding using Plaintifrs trademark ''A ; 4 Peace Awards''and variation names
23
     of the m ark.
24
2    4. Plaintiffs organization has been affected by Defendants'deceptive practices of
 5
26   using Plaintiffs m ark since prospectclients are being directed to Defendants'online

27   pages and advertising instead ofgoing to Plaintifrs online page and advertising .

28
                                                     7
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     5. Profits made by Defendants on the use ofP la intiff's m ark.
 1
 2   6. Expenses incurred to pursue this Iawsuit,rece ipts shallbe provided in Court

 3   7. Fudherm ore, Plaintiffis informed and believes,and on thatbasis alleges, that the

 4   actions of Defendants were undedaken w illfully and w ith the intention ofcausing

 5   confusion, m istake ,ordeception,m aking this an exceptionalcase entitling P laintiffto     1
 6   recoveradd itionaltreble dam ages and reasonable attorney fees pursuant to 15
 7   U
         .   S .C . Section 1117.
 8
     On inform ation and belief, the actionà ofaIlherein-included Defendants described
 9
     w ithin the contentof this Com plaintwere and continue to be deliberate and w illful.
10
11                                      THIRD CAUSE OF A CTIO N

12           (FederalUnfairCom petition and False Advertising under15 U .S .C .Sections
                                 1125(a)againstaIIDefendants)
13
                The Defendants actions described above and specifically ,w ithout Iim itation,
14
     their unauthorized use of the A rt4 Peace Awards tradem ark,and confusingly sim ilar
15
16   variations thereof, in com m erce to advedise,prom ote, m arket,and selltickets for

j7   awards events throughout the United States, including California,constitute Federal

18 UnfairCompetition and False Advertising in violation of15 U.S .C .Section 1125(a).
19               The actions ofDefendants, ifnotenjoined,willcontinue. Plaintiffhassuffered
20   and continues to sufferdam ages in an am ount to be proven at trialconsisting of,
21
     among otherthings the follow ing:
22
     1. Loss ofincome in the amountofaround $250,000.00 dollarswhen
23
     DefendantKhurram M oham med transferred to a bank in India the tickets funds
24
     collected for the October2018 awards event.
25
26 2. Creditcard debt in the amountof$75,000.00 dollarssince DefendantKhurram
27   Moham m ed walked out on Plaintifffor the October2018 eventand took aIIthe

28
                                                      8
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     collected funds some of the guests.
 1
 2   3. Loss of incom e in an unknow n am ountforotherawards events Defendants have

 3 been holding using Plaintiff's tradem ark $A
                                              ' d 4 Peace Aw ards''and variation nam es

 4   of the m ark.

 5   4 . P laintiffs organization has been affected by Defendants'deceptive practices of
 6   using Plaintiff's m ark since prospectclients are being directed to Defendants'online
 7
     pages and advedising instead ofgoing to Plaintifrs online page and advedising .
 8
     5. Profits m ade by Defendants on the use ofP laintiff's m ark.
 9
     6 . Exnenses incurred to pursue this Iawsuit,receints shallbe Drovided in Coud
10         '                                              '          ' '
11   7. Furtherm ore , P laintiffis informed and believes,and on thatbasis alleges, that the

12   actions of Defendants were undedaken w illfully and w ith the intention ofcausing

13 confusion, m istake, ordeception,m aking this an exceptionalcase entitling Plaintiffto

14   recoveradditionaltreble dam ages and reasonable attorney fees pursuant to 15
15   U s c . Section 1117 .
16   O n information and belief,the actions ofaIlherein-included Defendants described
17
     w ithin the contentofthis Com plaintwere and continue to be deliberate and w illful.
18
                                 FO URTH CAUSE OF ACTIO N
19
20       (Statutory Unfair Com petition and FalseAdvertising under California
      Businèss and Professions Code Sections 17200 and 17500 et seq.Against all
21                                         Defendants)
22        The Defendants actions described above and specifically,w ithout Iim itation,

23   theirunauthorized use ofthe A rt4 Peace Awards tradem ark,and confusingly sim ilar

24   variations thereof, in com merce to advertise ,prom ote, market,and sell tickets for
25   awards events throughout the United States, including California,constitute Federal
26   St
       atutory UnfairCom petition and False Advedising under California Business and
27
     Professions Code Sections 17200 and 17500 etseq againstaIIDefendants.
28
                                                 9
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 1              The actionsofDefendants,ifnotenjoined,Fillcontinue. Plaintiffhassuffered
 2   and continues to sufferdam ages in an amount to be proven at trialconsisting of,

 a   am ong other things the follow ing :

 4 1. Lossof income in the amountofaround $250,000.00 dollarswhen
 5   Defendant Khurram M oham m ed transferred to a bank in India the tickets funds
 6   co llected    for the O ctober2018 awards event
                                                   .


 7   2
         .   Creditcarddebt in the amountof$75,000.00 dollars since DefendantKhurram
 8
     Moham m ed walked out on P laintifffor the October2018 eventand took aIIthe
 9
     collected funds som e ofthe guests.
10
11   3. Loss of incom e in an unknown amount forotherawards events Defendants have

12   been holding using Plaintifrs tradem ark ''A d 4 Peace Awards''and variation names

13   Ofthe m ark.

14   4 . PlaintiT s organization has been affected by Defendants'deceptive practices of
15   using Plaintiff's m ark since prospectclients are being directed to Defendants'online
16
     pages and advertising instead ofgoing to Plaintiffs online page and advedising .
17
     5. Profits m ade by Defendants on the use ofPlaintiff's m ark.
18
     6. Expenses incurred to pursue this Iawsuit, receipts shallbe provided in Court
19
     7. Fudherm ore, Plaintiff is informed and believes,and on thatbasis alleges, that the
20
21   actions ofDefendants were undedaken w illfully and w ith the intention ofcausing

22   confusion,m istake,ordeception,m aking this an exceptionalcase entitling P laintiffto

23   recoveradditional treble dam ages and reasonable attorney fees pursuant to 15
24   U . S .C .Section 1117.
25   on information and belief the actions ofaIIherein-included Defendants described
                              ,

26
     w ithin the contentof this Com plaintwere and continue to be deliberate and w illful.
27
                                    FIFTH CAUSE OF ACTIO N
28
                                                 10
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 1            (Contributory Tradem ark InfringementagainstaIIDefendants )
 2        The Defendants actions described w ithin this Com plaint and specifically ,

 a   w ithout lim itation, theirunauthorized use of the A rt4 Peace Awards tradem ark,and

 4   confusingly sim ilarvariations thereof, in com merce to adved ise, prom ote, m arket,

 5   and selltickets forawards events throughout the United States, including California ,
 6   constitute FederalUnfairCom petition and False Advedising in violation of 15 U S .C .
                                                                                        .



 7   S
      ection 1125(a).
 8
           The actions ofallDefendants described w ithin the contextofthis Com plaint,
 9
     and specifically ,w ithout lim itation, theirknow ledge ,padicipation,and inducem entof
10
11   the unauthorized use of the A rt4 Peace Awards tradem ark, and confusingly sim ilar

12   variations thereof, in com m erce to advedise,m arketand prom ote awards events

13   throughout the United States and California ,constitute contributory tradem ark

14 infringement in violation ofFederalLaw and common law ofihe State ofCalifornia.
15         The actions ofDefendants, ifnotenjoined,willcontinue. Plaintiffhassuffered
16
     and continues to sufferdam ages in an am ount to be proven at trialconsisting of,
17
     am ong otherthings,dim inution in business associated w ith the A rt4 Peace Awards
18
     mark,and injury to Plaintiff's business. Additionally,Plaintiffhassuffered the
19
     follow ing losses:
20
21 1. Lossofincome in the amountofaround $250,000.00 dollarswhen
22   DefendantKhurram Moham med transferred to a bank in India the tickets funds

23   collected for the O ctober2018 awards event.
24   2. Creditcard debt in the amountof$75,000.00 dollarssince DefendantKhurram
25   Moham m ed walked out on Plaintifffor the October2018 eventand took allthe
26
     collected funds som e ofthe guests.
27
     3. Loss of incom e in an unknown amount forotherawards events Defentïants have
28
                                                 11
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     been holding using Plaintiff's trademark IA
                                               ' d 4 Peace Awards''and variation names
 1
 2   of the m ark.

 a   4. Plaintiffs organization has been affected by Defendants'deceptive practices of

 4   using Plaintifrs m ark since prospectclients are being directed to Defendants'online
 5   pages and advertising instead ofgoing to Plaintiff's online page and advedising .
 6   5 Profits made by Defendants on the use of P laintiff's m ark .



 7   6
      .   Expenses incurred to pursue this Iawsuit,receipts shallbe provided in Coud
 8
     7. Furtherm ore ,P laintiff is informed and believes,and on thatbasis alleges, that the
 9
     actions of Defendants were undertaken w illfully and w ith the intention ofcausing
10
11   confusion,m istake ,ordeception,m aking this an exceptionalcase entitling Plaintiffto

12   recoveradditionaltreble dam ages and reasonable attorney fees pursuant to 15

13   U .S .C . Section 1117.

14   On inform ation and belief, the actions ofalIherein-included Defendants described
15 w ithin the contentof this Com plaintwere and continue to be deliberate and w illful.
16                                 S IXTH CAUSE O F ACTIO N
17
               (Vicarious Tradem ark InfringementagainstArt4 Peace Awards)
18
             Plaintiff re allege and incorporate herein the allegations contained in this
19
     Com plaintagainstaIIDefendants.
20
21         The Defendants actions described w ithin this Com plaint and specifically,
22   w ithout Iim itation, their unauthorized use of the A rt4 Peace Awards tradernprk,and

23   confusingly sim ilarvariations thereof, in com merce to advedise ,prom ote ,m arket,
24   and selltickets forawards events throughout the United States, including C /lifornia ,
25 constitute FederalUnfairCom petition and False Advedising in violation of 1'7U S .C ..


26 S
      ection 1125(a).
27
             The actions of aIIDefendants described w ithin the contextof this Com plaint,
28
                                                  12
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     and specifically ,w ithout lim itation, theirknow ledge ,pad ic ipation,and inducem ent of
 1
 2   the unauthorized use of the A rt4 Peace Awards trademark,and confusingly sim ilar

 3   variations thereof, in com m erce to advertise,m arketand prom ote awards events

 4   throughout the United S tates and California ,constitute contributory tradem nrk

 5   infringem ent in violation ofFederalLaw and com m on Iaw of the State ofCalifornia .
 6            The actions of Defendants
                                          ,   ifnotenjoined,w illcontinue. Plaintiffhassuffered
 7
     and continues to sufferdam ages in an amount to be proven at trialconsistir-'g of,
 8
     am ong other things,dim inution in business associated w ith the A rt4 Peace Awards
 9
     mark,and injury to Plaintiffs business. Additionally,Plaintiffhas suffered thia
10
11 follow ing losses:

12 1. Lossofincome in the amountofaround $250,000.00 dollarswhen
13   DefendantKhurram M oham m ed transferred to a bank in India the tickets furtds

14   collected forthe October2018 awards event.

15 2 creditcard debt in the amountof$75,000.00 dollars since Defendanthêld'lrram
16   M oh
         am med walked out on P laintifffor the October2018 eventand took :7:1the
17
     collected funds some of the guests.
18
     3. Loss of incom e in an unknow n am ountforotherawards events Dc.fencl-'' ts have
19
     been holding using Plaintif s tradem ark 'A ; 4 Peace Awards''and variation cames
20
21   of the m ark.

22   4. Plaintifrs organization has been a#ected by Defendants'deceptive practlmes of

23   using Plaintiffs m ark since prospectclients are being directed to Defendnnt: 'online

24   pages and advertising instead ofgoing to Plaintiffs online page and adverit :Ig .
                                                                                     '
                                                                                    vx



25 5 Profits m ade by Defendants on the use ofPlaintifrs m ark        .


26 6
       .   Expenses incurred to pursue this Iawsuit, receipts shallbe provided ia (.' 'ud
27
     7 . Fudhermore, Plaintiff is inform ed and believes,and on thatbasis allet,         'tlat the
28
                                                      13
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     this Co
           ' m pla intwere and continue to be deliberate and w illful.
 1
 2                                    PRAYER F9R RELIEF
     W HEREFORE,plaintiffprays judgmentagainstDebtoras follows:
 3
     1.    ThatC reditorbe granted inductive reliefunder 15 U .S .C .Sections 1051et
 4
     seq.', California Business and Professions Code Sections 17200 and 17500 e .seq .;
 5
     and FederalLaw and California comm on Iaw ofcontributory tradem ark infringement
 6
     and vicarious tradem ark infringement',specifically , that Debtorand aIlof his
 7
     respective officers, agents, servants, representatives,em ployees,attorneys,and aII
 8
     otherpersons acting in conced with them be enjoined from :
 9         .
     2.        Using the A rt4 Peace Awards m ark,orany m ark confusingly sim ilar to the Art
10
     4 Peace Awards m ark, in connection w ith the m arketing ,prom otion,advertis ing ,sale ,
11
     distribution ofany events products orevents services ofany kind . or indirectly*
12
     engaging in false advedis ing orpromotions ofAd 4 Peace Awards products and/or
13
     events services ofany kind.
14
15   3.     M aking or inducing others to make any false, m isleading ordeceptive

16   statem entoffact,or representation offact in connection w ith the promotion and

17   advedisement of

18   4.    ' Forgeneraldamages in the sum of$250,000.00 dollars,.
19   5
      .        Fordamages in the sum of $100,000.00 dollars',
20
     6.        Forpunitive damages in the sum of$100,000.00 dollars;
21
     7.        Forany and aIIcosts ofsuit incurred herein ,'and
22
23   8.     For the Trustee to open an investigation against Debtorand crim inal
24   charges be broughtup againsthim forhis fraudulentand deceptive activity
25   againstm e and others.
26
     8. b ' Forsuch other and furtherrelief as the courtmay deem proper.
27
28
                                                  14
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         DATED :


                                   MUNN IIRONE ,PLAINTIFF IN PRO PER




                                    V ER IFICA TIO N

         1,M unn iIrone,am a P laintil in the above-entitled action. Ihave
         read the foregoing Com p laint and know the contents thereof.
         The sam e is true of m y ow n know ledge ,except as to those
         m aders w hich are therein alleged on inform ation and belief, and
         as to those m a/ ers , Ibe lieve it to be true .

         Ideclare underpenalty ofperjury that the foregoing is true and
         correct and that this declaration w as executed at Pom ona,
         California.




         DATED: -7/0s;uN. e'        :
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     Trademarks >Tradem ark Electronic Search system (TESS)
'
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           .        .   *   '*   '       w   j    . w,   .         I#   #   7   @.        w.

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     A R TS 4 PEA CE AW A RD S

    W ord Mark ARTS 4 PEAGE AW ARDS
    Goodsand IC 041.US 100 101 107.G & S:Organisation ofcompetitions and awards ceremonies in the fieldsofad,costumes,
    servlees        film,fashion,andculture;hostingandorjanisingsocialentertainmentevents inthenatureofawardceremonies;
                    entedainmentservices,namelyvconductlng entertainmentshows relating to achievem entawards in the fields ofad,
                    costumes,51m,fashion.andculture;entertainmentservicesrelatingtothegrantingofawards.namely,arranjing
                    and conducting specialevents in the nature ofaward ceremonies forsocialentertainmentpurposes;Organizlng
                    ct/turaland ads events.FIRST USE:20160100.FIRST USE IN COMMERCE:20160100
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    Serial       88328112
    Num ber
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    Original     IA
    Filing Baqis
    Published
    for          May28,2019
    Opposition
    Regisfration 5834905
    Number
    Registratlon August13 2019
    D                     ,
     ate
    Owner        (REGISTRANT)ARTS 4 PEACE AWARDS CORPORATION CAUFORNIA 1646ACORN LANEGLENDORA
                 CALIFORNIA 91741
    Attorney of
                 AlexPatel
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    2. CALIFORNIA CORPORATE NUMBER
                                                           C4197910                                                     ThisspacefornlingJseoxy
    No Change Statement (Notapplc
                                iable ifagentaddressofrecord isa P.O.Boxaddress. See n
                                                                                     istructions.)
    3. Iftherehavebeenanychanjesto the informationcontainedInthe IastStatementofInformationfiledwiththeCaliforniaSecretary
          ofState.orno statementof lnformation has been previously filed,this form m ust be com pleted ln its entirety.
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                State,check the box and proceed to ltem 17.
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    Com pleteAddresses for theFollow ing (Donotabbreviate thenameofthecity. ltems4and5cannotbe P.O .Boxes.)
    4. STREETADDRESSOFPRINCIPALEXECUTIVE OFFICE                                                         CITY                  STATE     ZlPCODE
    640 E IMPERIAL AVE ,U NIT 8.EL SEGUNDO ,CA 90245
    5. STREETADDRESSOFPRINCIPALBUSINESS OFFICE IN CALIFORNIA;IFANY                                      CITY                  STATE     ZIPCODE
    640 E IMPERIALAVE ,UNIT 8,ELSEGUNDO,CA 90245
    6. MAILING ADDRESSOFCORPOM TION,IF DIFFERENTTHAN ITEM 4                                             CIW                   STATE     ZIPCODE
     KHURM M MOHAMMED 6#0 E IMPERIALAVE 'UNIT 8,ELSEGUNDO,CA 90245


    Names and Complete Addresses ofthe Follow ing Officers (ThecorporationmustIist these three officers. A comparable tite
                                                                                                                         l forthespecisc
    officermaybeadded;however,thepreprinted titlesonthis form mustnotbealtered.)
    7. CHIEFEXECUTNEOFFICEK                               ADDRESS                                       CIW                   STATE     ZIPCODE
     KHURRAM MOHAMMED 640 E IMPERIALAVE ,UNIT 8,ELSEGUNDO ,CA 90245
    8. SECRETARY               Aoolu ss                           clry                                                        S#ATE     zIpcox
     KHURRAM MOHAMM ED 640 E IMPERIAL AVE IUNIT 8,EL SEGUNDO ,CA 90245
    9. CHIEF FINANCIALOFFICER/                            ADDRESS                                       CIW                   STATE     ZIP CODE
       KHURRAM MOHAMMED                            640 E IM PERIAL AVE 'U NIT 8,EL SEGUNDO ,CA 90245
    Names and Complete Addresses of AIlDirectors,Including Directors W ho are Also Officers (Tht corporationmusthaveatIeastone
    director.Attachaddito
                        inalpages,ifnecessaly )
    10. NAME                                              ADDRESS                                       CIW                   STATE     ZlP CODE
     KHURRAM MOHAMM ED                             640 E IMPERIALAVE ,UNIT 8,ELSEG UNDO ,CA 90245
    11. NAME                                              ADDRESS                                       CIR                   STATE     ZlP CODE

    12. NAME                                              ADDRESS                              .Z       C11
                                                                                                          'Y
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    13. NUMBER OFVACANCIES ON THEBOARD OFDIRECTORS 'IFANY;
    Agent forService ofProcess Iftheagentlsan individual.theagentmu treside inCaliforniaand ltem 15mustbecompletedwithaCalifornlastreet
    address,a P.O .Boxaddress is notacceptable. Ifthe agent is anothercorporation. the agent musthave on file with the Califom ia Secretary ofSl te a
    certificatepursuanttoCalifornia Corporations Code section 1505and ltem 15 mustbe Ieflblank.
    14. NAMEOFAGENTFOR SERVICEOFPROCESS
     KHURRAM MOHAMMED
    15. STREETADDRESSOFAGENTFOR SERVICEOF PROCESS IN CALIFORNIA.IFAN INDIVIDUAL CIW                                           STATE     ZIP CODE
     640E IM PERIALAVE ,UNIT 8,EL SEG UNDO ,CA 90245                                     '
    Type ofBusiness
    16 DESCRIBETHETYPE OFBUSINESS OFTHECORPORATION
    FiLM FESTIVALSANDAWARDS
    1 . Y SUBMIU I THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE.THE CORPORATION CERTIFIES THE INFORMATION
       CONTAINED HE EIN.INCLUDING ANY ATTACHMENTS ,IS TRUEAND CORRECT.
    12/17/2019                         KHURRAM MO HAM M ED                              CEO
      DATt                               TYPE/PRINTNAMEOFPERSONCOMPLETSNGFORM                       TITLE                     SIGNATURE
    . . . - . .- - . . - . .- . .- .                                         o .aexw 4 .xy <                            aoooo jygzo uu omoocvaov nc ovavm
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             2. The purpose of the corporadon is to engage in any Iaw fulactoracdvity forw hich a
          corporadon m ay be organized under the GeneralCorporadon I-aw ofC alifom ia other than the
          bnnklngbusiness, the kustcom pany businessor thepractkeofa profession perm itted toV '
          incorporated by the California CorporaHons Code.

                 The nam e ofthiscorporadon 's irtiualagentforservice ofprocess is:

                 Legah oom .com , lnc.

             4. The in idalskeetaddressof th iscorporadon is640 E.Im perialA ve.#8,E1Sepm do,
          California 90245.

             5. a)Thecorpora:on isauthorized to issue twoclassesofshares,each w ith$0.05aspar
          value,designated ''C om m on Stock '' and ''Preferred Stock'', respecuvely.The num berofshares
          ofCom m on Stock authorized to be issued is 10,000,000 and the num berof sharesofPreferred
          Stock authorized to be issued is1,500,000.

                 b)ThePreferredStockmaybe issued from dme to dme insuchnumberofseriesasthe
          Board ofDirectorsm ay determ ine. TheBoard ofDirectors isauthorized to determ ineoralter
          the righl ,preferences,privileges and resk icdons granted toor im posed upon any w holl
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          unissued seriesofPreferred Stock,and.to fix the num berofsharesofany seriesofPreferred
          Stockand thedesignationofany suchseriesofPreferredStock. Subjecttocompliancewith
          applicable protecdve voKng rightsw hich m ay be granted to the Preferred Stock orany sedesof
          Preferred Stock in CerdficatesofDeterm inadon or thecorporadon'sArdcles r.f IncorporaEon,
          theBoard ofD irectors isalso authorized,w ithin the lim il and rest icdozks stated in any
          resolue n or resolu:onsofthe Board ofD irectorsoriginally fixing the num berofshr es
          cons:tutingany series, to increaseordeerease(butnotbelow thenum berofsharesofsuch
          seriesthen outstanding) thenum berofsharesofany seriessubsequentto the issueof theshares
          of thatseries. In case the num berofsharesofany seriesshallbe so decreased, the shares
          constituting such decrease shallresum e the status w hich they had prior to the adopdon ofthe
          resoluuon originally hxing the num berofsharesofsuch series.

              6. The liability ofthedirectorsofthecorporadon formonetary dam ages shallbe
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       7. TlAiscorpora6on isauthorized toprovide indenm ificadonofagenl (a4defined in
    a ction317of theCaliforniaCorporauonsCode) throughbylaw provisions,agreementsw ith
    agenz,vote.ofshareholders ordisinterested directorsorotherw ise,in excessof the
    indem nification otherw ise perm itted by % ction 317 of the California CorporationsCode,
    subjectonly to theapplicable lim itssetforth inA ction204of theCaliforniaCorporadonsCode
    w ith respect to acdoss forbreach ofduty to the corporason and itsshareholders.

         8. Any repealorm odificauon ofthe foregom g prod sions of% cuons 6 and 7 by the
    shareholdersot' tltiscorporadon shallnotadverseiy affectàny rightorprotecuon ofan agentof
    tlziscorporauon exisung at the Hm e ofsuch repealorm odificason.

      1,theund'ersigned,as the sole incorporatorof thecorporauon,declare that1am thepersdn
    whoexecuted theseArdclesofIncorporation,which execudon ismy actqnd deed.



    Executedon9/21/2018.




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                                              By: CheyezmeM oseley,AssistantSecretary
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                               EXHIBIT D

       Copy of Proof of Service Filed
evidencing service of pleadings on Defendant
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                           EXHIBIT E
                        PROPOSED ORDER
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    1   Sevan Gorginian, Esq. (SBN 298986)
        Law Office of Sevan Gorginian
    2   450 North Brand Boulevard, Suite 600
    3   Glendale, California 91203
        Tel: 818.928.4445 | Fax: 818.928.4450
    4   Email: sevan@gorginianlaw.com

    5   Attorney for Plaintiff
    6
    7                            UNITED STATES BANKRUPTCY COURT

    8                             CENTRAL DISTRICT OF CALIFORNIA

    9                                    LOS ANGELES DIVISION

   10
        In re:                                       )     Case No.: 2:20-bk-14552-ER
   11                                                )
   12   Khurram Mohammed,                            )     Chapter: 7
                                                     )
   13                                Debtor(s).      )     Adv. No.: 2:20-ap-01168-ER
                                                     )
   14
                                                     )
   15   Munni Alvi Irone, dba Arts 4 Peace           )     [PROPOSE] ORDER GRANTING
        Awards,                                      )     PLAINTIFF’S MOTION FOR DEFAULT
   16                                                )     JUDGMENT
                                     Plaintiff,      )
   17
                                                     )
   18                  v.                            )     Noticed pursuant to LBR 9013-1(o)
                                                     )
   19   Khurram Mohammed aka Fesi Khurram            )
        aka Sunny Mohammad Fessi,                    )
   20
                                                     )
   21                                Defendant.      )
                                                     )
   22
   23            On February ---, 2021, Plaintiff, Munni Alvi Irone, dba Arts 4 Peace Awards, filed

   24   Plaintiff’s Motion for Default Judgment Under LBR 7055-1 (the “Motion”) [Dkt. No. ---].
   25   The Motion was filed on a negative-notice basis, pursuant to the procedure set forth in
   26
        Local Bankruptcy Rule 9013-1(o). Appearances were noted on the record.
   27
   28


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               The Court, having reviewed the Motion, Defendant’s Opposition to the Motion
    1
    2   [Dkt. No. ---]., Plaintiff’s Reply to Defendant’s Opposition[[Dkt. No. ---], notice being

    3   proper and good cause appearing therefor,
    4
               HEREBY ORDERS that:
    5
               1. The Motion is Granted; and
    6
    7          2. A separate judgment will be entered against the Defendant for the following:

    8                 a. For a judgment that the debt owed to Plaintiff by Defendant is
    9                     nondischargeable under 11 U.S.C. § 523(a)(2), (4), or (6), the total
   10
                          amount of which is unascertainable at the moment;
   11
                      b. For a judgment in favor of Plaintiff and against Defendant for unjust
   12
   13                     enrichment;

   14                 c. For a judgment imposing a constructive trust on any and all property
   15                     relating to Plaintiff’s “Arts 4 Peace Awards” trademark, business name,
   16
                          and domain name appropriated by Defendant, in favor of Plaintiff;
   17
                      d. For a judgment directing GoDaddy, Inc. to transfer the domain
   18
   19                     art4peaceawards.com to Plaintiff;

   20                 e. For a judgment enjoining Defendant from continued unauthorized use
   21
                          of Plaintiff’s “Arts 4 Peace Awards” trademark, business name, and
   22
                          domain name; and
   23
   24                 f. For such other relief as the Court deems just and proper.

   25
   26                                                ###
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                           EXHIBIT F
                        SABAN THEATER
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              Be erl Hills Performing Ar s Cen er
                                   Sterling Venue Ventures ***** Canyon @ The Saban ***** Saban Theatre

Company Name & Contact:                                        Date:                       Day:                            Time In: Noon
                                   Art 4 Peace Awards                  2 -Oct-1                        Sunday              Time Out: 11pm
Event Name:                                                    Event Description:                                          Ticketed?     yes
                                 Art 4 Peace Awards            Award Show                                                  Attendance:                 1500

Fee Sched le                                                                      Ra e                 Addi i nal N e                          T al
Rental License Fee                                                            $10,500                                                    $       10,000.00
Facili ie
Building Overtime (After 10 Hrs) @ $250/Hr.
VIP Room Rental (Downstairs for 5 PP)                                             $1,000                                                        TBD
Bar Buyout                                                                        $5,000
Utilities                                                                           $ 00                                                 $            00.00
Stage Power Disconnects                                                           $1,000
Ligh ing
Standard Conventional Lighting                                                    $2,000                                                 $        2,000.00
Moving Lights Package                                                             $3,500
A di
THX Surround Sound                                                                $1,500
Front of House (Main)                                                             $2,000                                                 $        1,500.00
On Stage Monitors                                                                 $2,000                                                 $        1,500.00
Vide P jec i n Rec ding
Video Projection Downstage Screen 42'x20'                                         $1,000                                                        TBD
Video Projection Upstage Screen 1 'x20'                                             $ 00                                                 $            00.00
Christie Projector                                                                $2,500
Cleaning
Event Cleaning                                                                     $ 00                                                  $            00.00
VIP Room Cleaning (If used for catering)                                           $250
Additional Trash Removal / Dumpster Rental                                         $350
Confetti Cleanup                                                                   $3 5
Mi cellane
Advertising                                                                        $ 50
Parking Meters & Permits (Hamilton Ave)                                           $1, 00                                                 no permits
Green Room Hospitality                                                              $500

Ticke ing
Facility Fee                                                                         $5
Printing Fee                                                                         $1
Merchandise Split                                                                   0/30
                                                                                                                           T al FEES

LABOR                            Re i ed                                 Ra e                     f S aff      H           Ra e PTEB           T al
Bathroom Attendants              1 ea                                       $150.00                    1      flat rate     $150.00      $         150.00
Porter                           1 ea                                       $150.00                    1      flat rate     $150.00      $         150.00
Ushers                           1 per 5                                     $20.00                    2              4      $2 .40      $         22 .20
Security                         1 per 200                                   $4 .00                    2              4      $ .1        $         545.2
Box Office                       1 per 500                                   $25.00                    1              4      $35.50      $         142.00
House Manager                    1 ea                                        $42.50                    1                     $ 0.35      $         3 2.10
Production Manager               1 ea                                        $42.50                    1                     $ 0.35      $         3 2.10
StageHands & Loaders             as Needed                                   $32.50                    2                     $4 .15      $         553. 0
                                                                                                                           T al Lab

                          De     i D eU       n Signing                                                                    Total Fees:          $1 ,4 2.4
                                                                                                                            Payment:
De i                                                                                                                      Balance D e
N n Ref ndable d e a igning           f balance d e       da       i      e en
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Sterling Venue Ventures, LLC                                                               Client Signature

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limosien           500
VIDEO GRAPHER     6000
MC TJ MAYOR      500
FOOD              7000
RED CARPET     10000
SOUND SYSTEM 3000
SHOW PRODUCER 2500
VIP LOGDING     1545
ALCOHOL           3000
PRINTER            770
TROPHIES          4480
BANNERS            600
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
450 North Brand Boulevard, Suite 600, Glendale, California 91203


A true and correct copy of the foregoing document entitled: PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
02/25/2021    , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 02/25/2021     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 02/25/2021 Sevan Gorginian                                                      /s/ Sevan Gorginian
 Date                      Printed Name                                                   Signature




           This form is        It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2017                                                   Page 4                               F 7055-1.2.DEFAULT.JMT.MOTION
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                                         NEF

 United States Trustee (LA): ustpregion16.la.ecf@usdoj.gov

 Elissa Miller (TR): CA71@ecfcbis.com, MillerTrustee@Sulmeyerlaw.com;
 C124@ecfcbis.com; ccaldwell@sulmeyerlaw.com

 Sevan Gorginian: on behalf of Plaintiff Munni Alvi Irone, sevan@gorginianlaw.com
 2486@notices.nextchapterbk.com


                                     Mailing List

 Defendant/Debtor
 Khurram Mohammed
 640 E Imperial Ave, Apt 8,
 El Segundo, CA 90245-2463

 Judge’s Copy
 Honorable Ernest M. Robles
 United States Bankruptcy Court
 255 E. Temple Street, Suite 1560
 Los Angeles, CA 90012
